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                               UNITED STATES DISTRICT COURT
                                   Western District of Virginia
                                       Office of the Clerk
                                  180 W. Main Street, Room 104
                                      Abingdon, VA 24210

  Joel Adams Smithers # 21919-084
  FCI Three Rivers
  P.O. Box 4200
  Three Rivers, TX 78071

  Dear Sir/Madam:

          In response to your recent correspondence to the Court, please read the marked sections
  for information regarding your submission.

        You have requested copies of documents related to a case. In order to receive the copies
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  SECURITY NUMBERS IN YOUR PLEADINGS, NAMES OF MINOR CHILDREN OR
  DATES OF BIRTH UNLESS DIRECTED TO DO SO.

                                                       Sincerely,
                                                       LAURA A. AUSTIN, Clerk of Court

                                                       Date: 02/23/2024
